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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

 UNITED STATES OF AMERICA,                             )
                                                       )
                        Plaintiff,                     )
                                                       )
        v.                                             ) Civil No. Case No. 8:17-cv-826-T26AEP
                                                       )
 SAID RUM,                                             )
                                                       )
                Defendant.                             )

                         UNITED STATES’ OPPOSITION TO
                  DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

        This is an action by the United States to recover civil penalties assessed against Said Rum

 for willfully failing to disclose his interest in a foreign bank account for the 2007 tax year. From

 1998 through 2008, Rum maintained a foreign bank account at UBS AG in Switzerland with a

 balance of between $1.1 and $1.3 million. Rum was required to file a Report of Foreign Bank

 Accounts and Financial Accounts, commonly known as an FBAR, but failed to report the

 existence of the account annually as required by law, and as prompted to do on his annually filed

 income tax return. Rum was assessed a penalty in the amount of $693,607 pursuant to 31 U.S.C.

 § 5321(a)(5)(C) and (D), which mandates that the maximum penalty for a willful violation of the

 reporting requirement be the greater of $100,000 or 50% of the account balance.

        Rum seeks to evade responsibility for his actions by moving for summary judgment on

 two grounds. First, Rum argues that, although within the statutory maximum penalty, the

 amount of the penalty exceeds the amount permitted by regulation. Rum maintains that

 regardless of Congress increasing the willful penalty in 2004 in response to the perceived

 dangers that unreported foreign accounts posed to federal revenue, the penalty is limited to the
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 lower amount specified in the regulation applicable prior to 2004. Second, Rum argues that the

 penalty is arbitrary and capricious because the government failed to provide a reasoned

 explanation for the imposition of a 50% penalty as opposed to a lower amount.

         Rum is wrong on both counts. With respect to the first argument, the plain language of

 the FBAR statute trumps contrary language in the regulations that implemented the earlier

 version of the statute. When Congress amended the statute in 2004 to mandate an increase in the

 maximum amount of the willful penalty to the greater of $100,000 or 50% of the account

 balance, the amount imposed against Rum, it legislatively superseded existing contrary

 regulations. As such, the amended statute necessarily invalidated existing implementing

 regulations to the extent they imposed the lower amount applicable under the pre-2004 statute.

         With respect to the second argument, it is beyond doubt that both the IRS Examination

 Division and Appeals Office properly imposed the willful FBAR penalty against Rum based on a

 well developed administrative record. That record includes substantial evidence that, at a

 minimum, Rum is liable for the willful penalty under the applicable objective standard. Under

 this standard, at a minimum, Rum acted willfully under both reckless disregard and willful

 blindness theories because the risks were obvious and Rum consciously avoided learning about

 his reporting requirement.1

         That administrative record includes but is not limited to the following findings: (1)

 Despite that Rum owned a Swiss bank account at UBS AG for ten years with a balance

 exceeding $1.1 million, he marked “no” on his federal income tax return each year in response to

 1
  The objective standard applicable to willfulness determinations is discussed fully in the government’s motion for
 summary judgment. (DE 31, Section II.) Bedrosian v. United States, Case No. 17-3525 (3rd Cir. December 21,
 2018.)

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 the question as to whether he had a foreign account; (2) Rum failed to report the interest income

 or gains on his foreign account on his federal tax returns despite that he reported income from his

 domestic bank accounts; (3) Rum never obtained professional tax advice on the implications of

 owning a foreign bank account until after he was advised by UBS AG that his account

 information had been turned over to the IRS; (4) Rum signed his tax returns under the penalty of

 perjury, affirming that he had reviewed them, and affirming that they were true and correct but

 now claims that he signed the returns marked “Self-Prepared” without reviewing them; (5) Rum

 ignored the explicit instructions on Schedule B of his tax returns explaining his obligation to

 report his foreign bank account; (6) Rum’s UBS AG bank statements contained a notice on the

 first page advising him that they were being provided to assist him with his federal tax reporting

 obligations; and (7) Rum was advised by UBS AG in 2002 of his duty to file a Form W-9 with

 the IRS, but failed to do so. (Facts at DE 32.) Any reasonable person in Rum’s position would

 have known or should have known that he had a duty to report his foreign bank account. The

 penalty imposed against Rum was not arbitrary or capricious.

        Additionally, under well-established binding precedent, Rum waived his right to

 challenge the amount of the penalty in this Court due to his failure to raise the issue at the

 administrative level. Rum never challenged the government’s computation of the amount of the

 FBAR penalty during the examination or on administrative appeal. Rather, Rum’s challenge at

 the administrative level was limited to his claim that his failure to report his foreign bank account

 was not willful. Rum cannot reasonably argue that the government was arbitrary and capricious

 in assessing a penalty within the statutory limits when he never contested the amount of the

 penalty during the ample administrative review afforded him. The rationale for this precedent is

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 sound and recognizes that a court should only overturn an agency decision when the agency has

 erred despite that an objection was made during the administrative process. This ensures that the

 government is given an opportunity to cure any errors it may have made. Having failed to

 question the amount of the penalty during the administrative process other than to seek reduction

 to the non-willful penalty, Rum cannot raise the issue now.

          Finally, as discussed in the government’s motion for summary judgment, the abuse of

 discretion standard applies to the final decision of the agency – not the individual discretion of an

 agency official. In this case, the administrative record contains ample evidence to support the

 imposition of the willful FBAR penalty, and the assessment was made within the applicable

 statutory limits. It necessarily follows that the agency action under review does not constitute an

 abuse of discretion.

          In support of this opposition, the United States relies on the contemporaneously filed

 Statement of Undisputed Facts (“Facts”). Rum’s motion for summary judgment is not well

 taken, and should be denied accordingly.2

                                                  ARGUMENT

     I.       The Penalty Assessed Against Rum Is Consistent With the Statute’s Intent That the
              Maximum Civil FBAR Penalty Be 50% of the Unreported Foreign Bank Account
              And Is Not Prohibited by Regulation.

              A. Statutory Background

          In 1986, Congress established the willful FBAR penalty codified at 31 U.S.C.
 2
   Pursuant to the Case Management and Scheduling Order entered by this Court, absent prior permission a motion
 for summary judgment “shall not exceed twenty-five” pages. (Order ¶ 6a at DE 13.) Rum exceeds this limit by
 incorporating by reference the ninety-eight page motion filed by the taxpayer in the FBAR case of United States v.
 Colliot, Case No. 1:16-cv-01281(W.D. Tex.), and attached as Exhibit 1 to his seventeen page motion for summary
 judgment. To the extent that Rum’s motion exceeds the page limitation established by this Court, it is improper and
 should be stricken on this basis.

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 § 5321(a)(5). From 1986 through 2004, § 5321(a)(5) provided a maximum penalty for a willful

 failure to file an FBAR of $25,000 or “an amount (not to exceed $100,000) equal to the balance

 in the account at the time of the violation,” whichever was greater. Tracking the maximum

 penalty rules in the statute, the regulations during that period also provided for a willful FBAR

 penalty “not to exceed the greater of the amount (not to exceed $100,000) equal to the balance in

 the account at the time of the violation, or $25,000.” 31 C.F.R. § 103.47(g)(2) (1987-1999); 31

 C.F.R. § 103.57(g)(2) (1999-2004).

        The preamble to the regulations stated the Secretary’s intent to “[c]orrect the civil penalty

 amount that can be assessed for willful violations of the recordkeeping requirements of this

 Part.” 52 FR 11436, 11440 (Apr. 8, 1987) (“Discussion of Comments,” No. (20)). The preamble

 provided further that, “[i]n order to keep the regulations as current as possible, the amendments

 to the civil penalty amounts now reflect . . . [the] civil penalties for violations after October 1986

 under the Anti-Drug Abuse Act of 1986.” Id. Treasury also declined to “announce a ‘safe

 harbor’ of allowable civil violations of the regulations prior to assessing penalties,” explaining

 that “Treasury has been given the authority and responsibility to enforce the Bank Secrecy Act,

 and intends to do so to the fullest extent possible.” Id. (emphasis added).

        Notably, in enacting the regulation, the Secretary did not express any intent to limit its

 discretion to assess penalties for willful FBAR violations. The regulation’s sole purpose was to

 “reflect” the “civil penalties for violations” of the statute “after October 1986,” and accordingly,

 it tracked but did not alter the rules for calculating the maximum penalty in the recently amended

 statute. Id. Treasury did not, in any way, implement a regulatory requirement that—

 independently of the statute—would limit the Secretary’s discretion to assert the maximum

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 penalty authorized by the statute. Indeed, in declining to establish the safe harbor that some

 commenters requested, the Secretary made clear his intent “to enforce the Bank Secrecy Act . . .

 to the fullest extent possible,” 52 FR at 11440, which belies the suggestion that Treasury was

 trying to limit the broad discretion that Congress had granted it under the statute.

        In 2004, Congress substantially increased the penalties for individuals failing to file

 FBARs. For willful violations after October 22, 2004, Congress increased the maximum penalty

 to the greater of $100,000 or fifty percent of the account balance. See 31 U.S.C.

 § 5321(a)(5)(C). The amendment both: (1) discarded the $100,000 upper limit in the earlier

 statute, and (2) used half of the account balance (rather than the entire balance) as a factor in

 determining the maximum penalty. Id.

        Congress increased the penalty ceilings for willful FBAR violations in the 2004 Jobs Act

 to encourage individuals to report foreign financial accounts. Congress had expressed concern

 that “there may be hundreds of thousands of taxpayers with offshore bank accounts attempting to

 conceal income from the IRS,” and it believed “that improving compliance with this reporting

 requirement is vitally important to sound tax administration, to combating terrorism, and to

 preventing the use of abusive tax schemes and scams.” S. Rep. No. 108-192 at 108 (2003).

 Thus, Congress both added “an additional civil penalty for a non-willful act [of] up to $10,000”

 and “increase[ed] the pr[ior] law penalty for willful behavior to the greater of $100,000 or 50

 percent of the amount of the transaction or account.” H.R. Rep. No. 108-755 at 615 (2004).

        The intent of Congress was clear. In choosing the Senate Amendment (which

 “increase[d] the pr[ior]-law penalty for willful behavior”) over the original House Bill (which

 did not), the Conference Committee made a specific decision to discard the maximum penalties

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 in the prior statute and outdated regulation. Id. “The Congress believed that increasing the

 prior-law penalty for willful non-compliance with [the FBAR] requirement” would “improve the

 reporting of foreign financial accounts.” Joint Committee on Taxation, General Explanation of

 Tax Legislation Enacted in the 108th Congress, JCS-5-05 at 387 (2005). That objective was

 “vitally important to sound tax administration,” because “the number of individuals using

 offshore bank accounts to engage in abusive tax scams ha[d] grown significantly in recent

 years.” Id.

        B. Agencies and Courts Must Give Effect to the Unambiguously Expressed Intent of
           Congress.

        Where, as the case is here, Congress has directly spoken to the precise question at issue

 and the intent of Congress is clear, both the agency and the Court “must give effect to the

 unambiguously expressed intent of Congress.” Chevron, USA, Inc. v. Natural Resources

 Defense Counsel, Inc., 467 U.S. 837, 842-843 (1984.)

        When Congress amended the willful FBAR statute in 2004, it clearly and unambiguously

 expressed its intent to mandate the increase of the maximum penalty when it stated that the

 maximum penalty “shall be increased” to the greater of $100,000 or 50% of the account balance.

 Norman v. U.S., 138 Fed. Cl. 189, 196 (2018). As amended in 2004, 31 U.S.C.

 § 5321(a)(5)(C)(i) provides:

        (C) Willful violations. – In the case of any person willfully violating, or willfully
        causing any violation of, any provision of section 5314 –

        (i) the maximum penalty under subparagraph (B)(i) shall be increased to the
        greater of –

        (I) $100,000, or

        (II) 50 percent of the amount determined under subparagraph (D).
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 (emphasis added.)

         Critically, as the Court in Norman found, “the amended statute dictates that the usual

 maximum penalty ‘shall be increased’ to the greater of $100,000 or 50 percent of the account.”

 Id. Given that the language in the willful FBAR penalty amendment is clear, the inquiry ends

 there, and the Internal Revenue Service, FinCEN, and this Court must give effect to the

 unambiguously expressed intent of Congress to increase that maximum penalty. Chevron, 467

 U.S. at 842-43. Because the regulation on which Rum relies, 31 C.F.R. § 1010.820(c)(2), limits

 the maximum willful FBAR penalty in every case to $100,000, it is inconsistent with the

 mandate of Congress to increase the potential maximum above that amount. It necessarily

 follows that the regulation upon which Rum now relies was superseded by the FBAR legislation

 enacted in 2004.

         Rum errs in suggesting at page 6 of his motion that Norman was wrongly decided

 because the Court failed to consider changes made to 31 C.F.R. § 1010.820 in 2016. Rum’s

 logic is flawed. As discussed in section C below, the Eleventh Circuit has consistently held that

 a regulation is invalid to the extent it fails to give effect to the will of Congress. For this reason,

 the IRS and FinCEN lack the discretion to promulgate any regulation that does not allow for the

 maximum willful penalty imposed by Congress when it amended the FBAR statute in 2004.

 Assuming arguendo that either did so, it is of no consequence. The statute trumps the regulation

 and must be given effect.

         This is not to suggest that the government concedes that such discretion was exercised in

 the first place. For the reasons discussed in section D below, the government does not agree that

 any discretion was exercised by regulation to limit the amount of the willful penalty to anything
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 less than the maximum authorized by statute. The point is that, even if such discretion had been

 exercised, it would be erroneous for this Court to give deference to any regulatory interpretation

 that does not allow for the maximum penalty mandated by the current, and unambiguous, FBAR

 statute. As the Supreme Court made clear in Chevron, a court may defer to an agency’s

 interpretation only if Congress did not express its intent unambiguously and only if that

 interpretation “is based on a permissible construction of the statute,” neither of which occurred

 here. Chevron, 467 U.S. at 842-843.

        In addition to Norman, three other courts recently rejected the decision in United States v.

 Colliot, 2018 WL 227181 *3 (W.D. Tex. May 16, 2018) on which Rum relies in arguing that the

 willful FBAR penalty is limited by regulation to $100,000.    In Kimble v. United States, 141

 Fed. Cl. 373, 388 (2018), the court, citing the Supreme Court decision in United States v.

 Larionoff, 431 U.S. 864, 873 (1977), held that “it is settled law that an agency’s regulations must

 be consistent with the statute under which they are promulgated,” and agreed that 31 CFR

 1010.820(g)(2) is “no longer valid.” To the same end, the court in Kimble also found that the

 fact that regulations “had not been formally withdrawn from the Code of Federal Regulations did

 not save them from invalidity.” Id. at 389, citing Barseback Kraft AB v. United States, 121 F.3d

 1475, 1480 (Fed. Cir. 1997). Following the reasoning in Kimble, the United States District Court

 for the District of Maryland held that 31 C.F.R. § 1010.820(g)(2) cannot be enforced in light of

 its conflict with 31 U.S.C. § 5321(a)(5)(C)(1) and the more recent IRM provision providing for a

 willful FBAR penalty in the amount of $100,000 or 50% of the account balance. United States v.

 Horowitz, 2019 WL 265107 *3 (D. Md. January 18, 2019).



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        The United States District Court for the District of Connecticut is the most recent court to

 join the tide of cases rejecting Colliot, finding that the 2004 statutory amendment abrogated the

 penalty limits in the earlier regulation: “The plain language of the 2004 amendment

 demonstrates Congress’s intent to authorize the Secretary to impose higher penalties for willful

 FBAR violations without the need for additional Treasury regulations, and . . . the old regulation

 will not bear the freight the Defendants attempt to foist upon it.” United States v. Garrity,

 No. 3:15-CV-243(MPS), 2019 WL 1004584, at *2 (D. Conn. Feb. 28, 2019).

        In light of the unambiguously expressed intent of Congress that the maximum willful

 FBAR penalty shall be increased to the greater of $100,000 or 50% of the account balance, this

 Court should find that the regulation that previously limited the penalty to a maximum of

 $100,000 has been legislatively superseded.

        C. To Be Valid a Regulation Must Be Consistent With the Governing Statute.

        A regulation cannot trump the plain language of the statute it implements. In order to be

 valid, regulations must be consistent with the statute under which they are promulgated. Where

 a regulation and statute conflict, the more specific and authoritative words in the statute govern.

 Pittsburg & Midway Coal Mining v. Director, OWCP, 508 F.3d 975, 981 (11th Cir. 2007.) To

 the extent a regulation is inconsistent with the plain language of a statute, it is invalid. Larionoff,

 431 U.S. at 873. This same rationale applies to the extent that a regulation is invalidated by a

 subsequent contrary legislative enactment. State of Georgia Department of Medical Assistance

 v. Heckler, 768 F.2d 1293, 1299 (11th Cir. 1985).

        Rum’s reliance on 31 C.F.R. § 1010.820(g)(2) to limit the willful FBAR penalty to a

 maximum of $100,000 violates the well-established rule of law establishing the primacy of a
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 statute over its implementing regulation. Section 1010.820(g)(2) provides that the civil penalty

 is “not to exceed $100,000.” That regulation is in direct conflict with the Congressional mandate

 that the maximum penalty shall be increased to the greater of $100,000 or 50% of the account

 balance. Because § 1010.820(g)(2) is inconsistent with the statute, it is a nullity. See Legal

 Environmental Assistance Foundation, Inc. v. United States Environmental Protection Agency,

 118 F. 3d 1467, 1473 (11th Cir. 1997). For this reason, this Court should find that

 § 1010.820(g)(2) was superseded by the 2004 FBAR statutory amendment and is no longer in

 force and effect.

         D. The Secretary Never Exercised Discretion to Reduce the Penalty Ceiling.

         At the time § 1010.820(g)(2) was adopted, the statutory maximum penalty was $100,000.

 Far from setting a discretionary limit below the statutory maximum, the regulation set forth the

 exact same amount. Indeed, the Secretary indicated in adopting the regulation that he intended

 to enforce the Bank Secrecy Act “to the fullest extent possible.” Amendments to Implementing

 Regulations Under the Bank Secrecy Act, 52 FR 11436-01, at 11440 (1987). To that end, the

 regulation mirrored the existing statute, including its idiosyncratic use of a parenthetical.

 Compare 31 C.F.R. § 103.47(g)(2) (“the amount (not to exceed $100,000)”), with 31 U.S.C.

 § 5321(a)(5) (“the amount (not to exceed $100,000)”); see also 52 FR at 11440 (noting a purpose

 to “reflect” the then-existing “civil penalties for violations”).

         Such a “parroting regulation” is not an exercise of discretion. That is because an agency

 does not exercise its discretion “when, instead of using its expertise and experience to formulate

 a regulation, it has elected merely to paraphrase the statutory language.” See Gonzales v. Oregon,

 546 U.S. 243, 257 (2006). Where, as here, an agency’s regulation simply restates a statute’s
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 terms, “the agency has left the statute as it found it, adding nothing material to Congress’s

 language and providing nothing of its own in which to ground an interpretation to which a court

 might defer. Fogo De Chao (Holdings) Inc. v. U.S. Dep’t of Homeland Sec., 769 F.3d 1127,

 1135 (D.C. Cir. 2014) (analyzing Gonzales).

        In light of this, Colliot and Wadham, the only cases that follows Colliot’s reasoning, give

 the regulation unwarranted significance. See Colliot, 2018 WL 2271381, at *2 (calling the

 regulation an attempt to “cabin” statutory “discretion”); United States v. Wahdan, 325 F. Supp.

 3d 1136, 1139 (D. Colo. 2018) (“[I]n the exercise of statutory discretion, the Secretary limited

 the penalties that the IRS could impose to $100,000 . . . .”). The regulation merely parroted the

 statute without any analysis or deviations. As a result, it cannot form the basis for construing any

 agency intention to impose a lesser penalty cap than the one mandated through statutory

 amendment.

        Nor does the failure to repeal a regulation save it from a conflicting statute. In Heckler,

 the Eleventh Circuit confronted a regulation that became obsolete in light of an intervening

 statute. The Court concluded that “even if the regulation were applicable to the situation at hand,

 it can have no effect in the face of a subsequent contrary legislative enactment.” 768 F.2d at

 1299; see also Barseback Kraft AB v. United States, 121 F.3d 1475, 1480 (Fed. Cir. 1997) (“The

 fact that DOE’s Enrichment Criteria had not been formally withdrawn from the Code of Federal

 Regulations does not save them from invalidity.”); Horowitz, 2019 WL 265107, at *3 (citing

 Barseback); Kimble, 2018 WL 6816546, at *15 (same).

        Moreover, even if the Secretary could impose a lower ceiling, it would require action to

 do so. That is because, in light of the 2004 statutory amendment, such a change would constitute

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 a “new substantive rule” subject to notice-and-comment requirements under the Administrative

 Procedure Act. See Lane v. Salazar, 911 F.3d 942, 949 (9th Cir. 2018). As part of that, the

 Secretary would have needed not only to provide notice and an opportunity to comment, but also

 an explanation for why he wanted to depart from the statutory maximum. See Perez v. Mortg.

 Bankers Ass’n, 135 S. Ct. 1199, 1203-04 (2015). None of that happened here. That only

 confirms the obvious: the Secretary never acted to lower the maximum penalty.3

          E. The Secretary’s Actions Show That the Lower Penalty Regulation Was No Longer in
             Effect.

          Six months before the Treasury renumbered 31 C.F.R. § 103.57 to 31 C.F.R. § 1010.820,

 it proposed changes to certain Bank Secrecy Act regulations that “would require changes to the

 instructions to the FBAR.” Notice of Proposed Rulemaking, 75 FR 8844, 8849 (Feb. 26, 2010).

 The proposed draft instructions stated:

          A person who willfully fails to report an account or account identifying
          information may be subject to a civil monetary penalty equal to the greater of
          $100,000 or 50 percent of the balance in the account at the time of the violation.
          See 31 U.S.C. § 5321(a)(5).

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   In fact, the penalty cap in § 1010.820(g)(2) for willful FBAR violations has never been subject to notice-and-
 comment rulemaking. In that respect, Colliot contained a factual error. 2018 WL 2271381, at *2 (“And
 § 1010.820—a regulation validly issued by the Treasury via notice-and-comment rulemaking . . . .”). The notice of
 proposed rulemaking did not include a regulatory cap on willful FBAR penalties. See Amendments to
 Implementing Regulations; the Bank Secrecy Act, 51 Fed. Reg. 30233-01 (Aug. 25, 1986). Rather, that cap was
 added only as part of the final rule (52 Fed. Reg. at 11446) and was therefore not itself subject to public comment.
 The penalty cap’s failure to undergo this process prior to 2004 is hardly surprising because, as a mere repetition of
 the then-existing statutory language, it was not a substantive provision that required notice-and-comment
 rulemaking. Instead, “it was, at most, an interpretive rule; it “d[id] not have the force and effect of law,” Perez v.
 Mortgage Bankers Ass’n, 135 S. Ct. 1199, 1204 (2015), and it vested no rights in account holders.” Garrity,
 2019 WL 1004584, at *3. After the 2004 statutory amendment, “[i]f the Secretary wanted to categorically limit his
 discretion to impose FBAR penalties above $100,000 after Congress conferred such authority on him by statute, he
 could do so, if at all, only through notice and comment rulemaking under the Administrative Procedure Act, clearly
 indicating his intent to surrender by regulation some of the authority Congress has bestowed on him. . . . It is
 undisputed that he has not taken such a step.” Id. at *5 (internal citations omitted).



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 Id. at 8854. The proposed draft instructions make clear the Treasury’s view—before it

 reorganized the regulations—that § 5321(a)(5) of the statute (and not 31 C.F.R. § 103.57)

 governed the maximum penalty for a willful FBAR violation. Even earlier, in July of 2008,

 while acknowledging in the Internal Revenue Manual that “the regulations at 31 C.F.R. § 103.57

 ha[d] not been revised to reflect the change in the willfulness penalty ceiling,” the IRS stated

 unequivocally that “the statute is self-executing and the new penalty ceilings apply.” I.R.M.

 § 4.26.16.4.5.1 (07-01-2008) (IRM 4.26.16 at DE 31-21.) Thus, both Treasury and the IRS

 consistently applied the penalty ceilings under the statute to willful FBAR violations, even

 though those ceilings were higher than those in the obsolete regulation. And, as the Treasury

 explained when it reorganized the Bank Secrecy Act regulations, it was not making any

 substantive changes when renumbering the regulations.4 The outdated regulation became

 obsolete when Congress amended the statute in 2004.

 II. Rum’s Challenge to the Amount of the Penalty Assessed by the IRS Is Unwarranted.

          A. Rum Waived His Right to Challenge the Amount of the Penalty by Failing to Raise
             the Issue at the Administrative Level.

          It is a hard and fast rule of administrative law, rooted in simple fairness, that issues not

 raised before an agency are waived and will not be considered by a court on review. Hensley v.

 United States, 292 F. Supp. 3d 399, 409 (D.D.C. 2018.) As enunciated by the Supreme Court,

 “simple fairness” requires that “generally a court should not topple over administrative decisions



 4
   Because the renumbering of the regulation was ministerial, rather than substantive, the Treasury rejected “all
 comments . . . that requested a substantive change, or would result in a substantive change,” as “outside the scope of
 th[e] rulemaking.” See Final Rule, 75 FR 65806 at 65807 (Oct. 26, 2010).

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 unless the administrative body has not only erred but has erred against objection made at the time

 appropriate under its practice.” United States v. L.A. Tucker Truck Lines, 344 U.S. 33, 39

 (1952); Vidiksis v. E.P.A., 612 F.3d 1150 , 1158-59 (11th Cir. 2010). In reaching this conclusion,

 the Court noted that “orderly procedure and good administration require that objections to the

 proceeding of an administrative agency be made while it has an opportunity for correction in

 order to raise issues reviewable by the courts.” Id. For this reason, where an argument is not

 raised in a timely fashion before an administrative agency, it is forfeited and may not be heard by

 a court reviewing the administrative action. See Soundexchange, Inc. v. Copyright Royalty

 Board, et al., 904 F.3d 41, 61 (D.D.C. 2018). There are numerous policy reasons underlying this

 exhaustion requirement, including permitting the agency an opportunity to exercise its discretion

 or apply its expertise. See Johnson v. Meadows, 418 F.3d 1152, 1156 (11th Cir. 2005.)

        The seminal events related to Rum’s appeal to the IRS Appeals Office from the willful

 FBAR penalty assessment proposed by the IRS Examination Division are set forth in the

 government’s contemporaneously filed Statement of Undisputed Facts, as well as the Declaration

 of Marjorie Kerkado filed in support of the government’s motion for summary judgment. (DE

 31-10.) As set forth therein, Rum was provided with a Form 886-a Explanation of Items when

 the Examination Division proposed the willful FBAR penalty assessment against him. A copy of

 the Form 886-a is attached as Exhibit B to Revenue Agent Kerkado’s declaration. (DE 31-10.)

 The Form 886-a contains a nine page narrative detailing the factual and legal basis for the

 proposed assessment. Page 9 of the document advises Rum that a penalty in the amount of

 $693,607 had been proposed pursuant to 31 U.S.C. § 5321(a)(5)(C) & (D), and states that the

 statute sets the penalty at the greater of $100,000 or 50% of the account balance.

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         By letter dated June 3, 2013, the Examination Division explained to Rum the process by

 which he could request an appeals conference to protest the proposed assessment if he did not

 agree with it. The letter, IRS Form 3709, advised Rum, among other things, that he would be

 required to provide the IRS with “an explanation of why you contest those penalties.” (Facts

 ¶ 4.)

         In response, Rum’s legal counsel sent a letter to Revenue Agent Kerkado dated July 2,

 2013, requesting an appeals conference but neglecting to provide any explanation as to why Rum

 contested the penalties. The letter merely stated that Rum was requesting that the penalty be

 reduced to the $10,000 non-willful penalty. (Facts ¶ 5.)

         Group Manager Terry Davis responded to counsel’s letter by letter dated July 23, 2013,

 noting that no protest had been submitted but advising Rum that despite this omission his case

 would be sent to appeals based on a letter Rum previously submitted dated November 23, 2011

 and the argument he had consistently made during the examination. Rum’s only argument

 during the examination was that his failure to file the report was not willful. No argument was

 made challenging the government’s ability to impose a 50% penalty against Rum if he were

 found willful or that the amount assessed for a willful violation was otherwise arbitrary,

 capricious, or an abuse of discretion. (Facts ¶ 6.)

         Based on the substantial evidence of willfulness described in her Appeals Case

 Memorandum, Appeals Officer Svetlana Wrightson sustained the 50% willful penalty proposed

 by the Examination Division. (Facts ¶¶ 7 and 8.)

         The administrative record demonstrates that neither Rum nor his legal counsel ever

 offered the IRS an explanation as to why the willful FBAR penalty should be assessed against

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 Rum in an amount less than the statutorily authorized maximum. Rather, Rum’s argument

 during the entire examination and appeal process was solely that he was not willful. Because

 Rum failed to raise any objection during the examination or on administrative appeal that would

 have afforded the IRS the opportunity to cure any alleged error as to the amount of penalty for a

 willful violation, he has waived his right to seek judicial review of that issue. As such, it is

 improper for this Court to consider Rum’s argument that the IRS abused its discretion in failing

 to provide him with an explanation as to why the willful penalty was not imposed in an amount

 less than 50% of the account balance.

        B. Applicable IRS Guidelines Support the 50% Penalty Assessed Here.

        Even if Rum had raised the amount of the penalty as an issue at the administrative level,

 it is plain that Rum was not entitled to a lower willful penalty amount under the applicable IRS

 guidelines. The Internal Revenue Manual sets forth the factors to be considered by the

 examining agent in determining the proper amount of a willful FBAR penalty. The applicable

 provision, IRM Exhibit 4.26.16-2, provides that the maximum 50% penalty applies in a Level IV

 case such as the one at issue here (a Level IV case exists where the account balance exceeds

 $1,000,000). (IRM at DE 31-21 p. 28.) The IRM provides only one exception to the application

 of the maximum penalty in a Level IV case. A revenue agent with the written concurrence of her

 manager may propose a lesser penalty, but only if her workpapers document that the taxpayer

 satisfies the four elements required for mitigation, including that “the IRS did not determine a

 fraud penalty for an underpayment of income tax for the year in question.” (IRM at DE 31-21 p.

 27.) But as Rum admitted in his Tax Court Petition and as determined by Revenue Agent

 Kerkado on the FBAR lead sheet she prepared, the IRS proposed a fraud penalty for year 2007;

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 therefore, Rum did not meet the criteria for mitigation and was not eligible for a reduction from

 the maximum penalty. (Tax Court Petition, ¶ 7 at DE 31-11; Facts ¶ 13.)

        Thus, if Rum had challenged the amount of the willful penalty during his administrative

 appeal, the Appeals Officer would have explained that: (1) he was subject to a mandatory 50%

 penalty because his account balance exceeded $1,000,000; and (2) he was ineligible for

 mitigation under the applicable guidelines due to the civil fraud penalty determined on

 examination of his 2007 income tax return. But because Rum never raised this issue during the

 administrative review process, it does not constitute an abuse of discretion for the IRS to simply

 explain in the Form 886-a provided to Rum that he had been assessed a 50% penalty pursuant to

 31 U.S.C. § 5321(a)(5)(C) and (D).

        Rum’s reliance on the case of Moore v. United States, 2015 WL 4508688 (W.D. Wash.

 July 24, 2015), to support the argument that he was entitled to a better explanation than that

 provided is not well taken. Moore is distinguishable from the present case in that the Court there

 found that the administrative record then before it “contain[ed] no explanation of the IRS’s

 decision to impose the penalties,” leaving the Court to “guess as to whether the IRS considered

 relevant factors or made a clear error of judgment.” Id. at *9. In the present case, there is ample

 evidence in the administrative record to show that the IRS imposed the willful FBAR penalty

 against Rum based on substantial evidence that Rum knew or should have known of his duty to

 file an FBAR, including the facts set forth in the Form 886-a Explanation of Items prepared by

 Revenue Agent Kerkado and the Appeals Case Memorandum prepared by Appeals Officer

 Svetlana Wrightson, and that the facts cited there were sufficiently serious to warrant the penalty

 imposed. (Form 886-a at De 31-10; ACM at Facts Ex. 5.) This administrative record

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 demonstrates that the IRS did not act arbitrarily, capriciously, or in abuse of discretion when it

 imposed the maximum penalty against Rum in the face of his repeated pattern of actions, taken

 over many years, to avoid disclosure of his foreign bank accounts.

        Moreover, the Court in Moore did not invalidate the FBAR penalty as Rum now seeks.

 Rather, the Court provided the government an opportunity to supplement the administrative

 record to show the basis for the agency’s decision – including producing the Appeals Case

 Memorandum that Rum has already been provided in this action. Id. at *10. In taking this

 action, the Court noted that it would be improper under Supreme Court authority for a court to

 conduct a de novo review of the agency’s decision as to the amount of the FBAR penalty. Id.

 (citing Florida Power & Light Co. v. Lorion, 470 U.S. 729,744 (1985). Here, the administrative

 record before this Court amply justifies the penalty assessed against Rum.

        C. The FBAR Penalty Was Made in Accordance With the Law And Is Not Arbitrary,
           Capricious, or an Abuse of Discretion.

        Although a court has power under the Administrative Procedure Act, 5 U.S.C. § 706, to

 set aside an agency action that is “arbitrary, capricious, an abuse of discretion, or otherwise not

 in accordance with the law,” the standard of review is extremely deferential to the action taken

 by the agency. Fund for Animals, Inc. v. Rice, 85 F.3d 535, 541 (11th Cir. 1996). As such, a

 court may not substitute its judgment for that of the agency, but rather must determine whether

 the agency is able to articulate a satisfactory explanation for its action including a rational

 connection between the facts found and the choice made. See Motor Vehicle Manufacturers

 Association v. State Farm Mutual Automobile Insurance Company, 463 U.S. 27, 42 - 43 (1983).

 Thus, the question before this Court is whether the IRS has made a clear error of judgment in

 assessing the willful FBAR penalty, a determination that involves examining the reasons for the
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 agency’s decision or the absence of such reasons. Judulang v. Holder, 132 S.Ct. 476, 484

 (2011.)

           In this case, both the Form 886-a Explanation of Items prepared by Revenue Agent

 Kerkado and the Appeals Case Memorandum prepared by Appeals Officer Svetlana Wrightston

 explain in detail the factual and legal basis for the IRS’s determination that Rum’s failure to file

 his 2007 FBAR was willful. (Kerkado Decl. at DE 31-10; Facts ¶ 8.) Both also state that the

 50% penalty was being proposed pursuant to 31 U.S.C. § 5321. Moreover, the 50% penalty was

 imposed in accordance with the policy established in the Internal Revenue Manual for bank

 accounts with a balance exceeding $1,000,000. (Facts ¶ 10; IRM 4.26.16 at DE 31-21.) Thus,

 the decision of the IRS to impose the 50% willful FBAR penalty was well reasoned and

 supported by the administrative record. It necessarily follows that the willful FBAR penalty

 assessed against Rum was made in accordance with the law and is not arbitrary, capricious, or an

 abuse of discretion.

           WHEREFORE, the United States requests that Rum’s motion for summary judgment be

 denied.

                                               RICHARD E. ZUCKERMAN
                                               Principal Deputy Assistant Attorney General

                                        By:    /s/ Mary Apostolakos Hervey
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                                  CERTIFICATE OF SERVICE


        I HEREBY CERTIFY that a true and correct copy of the foregoing United States

 Opposition to Defendant’s Motion for Summary Judgment has been filed this 8th day of March,

 2019 with the Court via ECF, which will transmit an electronic copy to all counsel of record.




                                              /s/ Mary Apostolakos Hervey
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